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                                        Susman Godfrey l.l.p.
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                                                       __________
        Suite 5100                                       Suite 1400                                   Suite 3800
   1000 Louisiana Street                          1900 Avenue of the Stars                        1201 Third Avenue
Houston, Texas 77002-5096                    Los Angeles, California 90067-6029            Seattle, Washington 98101-3000
     (713) 651-9366                                   (310) 789-3100                                (206) 516-3880
        __________                                        __________                                   __________

                            Arun Subramanian
                                                                                      E-Mail ASUBRAMANIAN@susmangodfrey.com
                       Direct Dial (212) 471-8346




          May 16, 2018

          Via Hand Delivery and ECF

          Hon. George B. Daniels
          United State District Judge
          United States District Court
          Southern District of New York
          Daniel Patrick Moynihan U.S. Courthouse
          500 Pearl Street, Chambers 1310
          New York, New York 10007-1312

                    Re:     Rich v. Fox et al., 18-cv-2223-GBD

          Dear Judge Daniels:

                  On May 10, 2018, Plaintiffs submitted the attached letter seeking the
          Court’s approval of the parties’ proposed briefing schedule for the Defendants’
          motion to dismiss. See Dkt. 40. On May 14, 2018, Defendant Ed Butowsky filed
          his motion to dismiss, see Dkt. 47, to which Plaintiffs are prepared to respond on
          the schedule indicated in our May 10 letter. For these reasons, Plaintiffs
          respectfully request that the Court so order the attached proposed briefing
          schedule. We appreciate the Court’s continued attention to this case.


          Respectfully,


          /s/ Arun Subramanian
          Arun Subramanian

          CC: Counsel of Record (via e-mail)
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                                        Susman Godfrey l.l.p.
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          May 10, 2018

          Via Hand Delivery and ECF

          Hon. George B. Daniels
          United States District Judge
          United States District Court
          Southern District of New York
          Daniel Patrick Moynihan U.S. Courthouse
          500 Pearl Street, Chambers 1310
          New York, New York 10007-1312

          Re:       Rich v. Fox et al., 18-cv-2223-GBD – Proposed Schedule for Motions to
                    Dismiss

          Dear Judge Daniels:

          The parties propose the following briefing schedule for Defendants’ motions to
          dismiss subject to the Court’s approval.

          Deadline for Defendants                   to   file May 14, 2018
          Motions to Dismiss

          Opposition Briefs                                     June 4, 2018

          Reply Briefs                                          June 18, 2018

          Hearing                                               June 20, 2018 (or at court’s discretion
                                                                to reschedule)



          The parties are available to discuss at the Court’s convenience.

          Respectfully,

          s/ Arun Subramanian
          Arun Subramanian
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May 10, 2018
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Cc: Counsel of Record (via e-mail)




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